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          IN THE UNITED STATES DISTRICT COURT FOR THE
                 NORTHERN DISTRICT OF FLORIDA
                     TALLAHASSEE DIVISION


ANDREW H. WARREN,

      Plaintiff,

v.                                            CASE NO. 4:22cv302-RH/MAF

RON DESANTIS,

     Defendant.
________________________/


                                   JUDGMENT

      This action came before the Court with the Honorable Robert L. Hinkle

presiding. The issues have been tried.

      The plaintiff Andrew H. Warren’s claims against the defendant Ron DeSantis

arising under state law are dismissed without prejudice based on the Eleventh

Amendment. Mr. Warren’s claims against Mr. DeSantis arising under federal law

are dismissed on the merits with prejudice.

                                         JESSICA J. LYUBLANOVITS
                                         CLERK OF COURT



January 20, 2023                         s/ Cindy Markley
DATE                                     Deputy Clerk: Cindy Markley
